This was a bill filed by the executors of Mrs. Mary McKinlay to obtain directions from the Court as to the proper execution of the will. The only point of law submitted arose upon the following facts: Certain premises in the town of New Bern were by the said will devised to Mrs. Elizabeth Daves for life, and after her death to her children, John, Edward, and Graham. The premises were insured, and after the death of the testatrix they were consumed by fire, and the insurance money received by the executors. The opinion of the Court was asked: whether this money belonged to those to whom the premises insured had been devised?
We are of opinion that the money received upon the policy of insurance stands in place of the buildings consumed by fire; *Page 69 
that Mrs. Daves is entitled to the interest thereon for life in lieu of the use and occupation of the buildings, and the said John, Edward, and Graham Daves will, at her death, be entitled to the principal money. The executors are not authorized to intrust Mrs. Daves with the money. It is their duty to keep it secure, paying to her the interest annually. The premiums of insurance is a proper charge against, her and the remaindermen.
PER CURIAM.                                     Decreed accordingly.
Cited: Campbell v. Murphy, 55 N.C. 363.
(102)